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      1   MICHAEL B. BIGELOW
          Attorney at Law
      2   State Bar No. 65211
          331 J Street, Suite 200
      3   Sacramento, CA 95814
          Telephone: (916) 443-0217
      4   Email:LawOffice.mbigelow@gmail.com
          Attorney for Defendant
      5   Fernando Madrigal

      6                      IN THE UNITED STATES DISTRICT COURT
      7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
      8

      9   UNITED STATES OF AMERICA,              )   Case No. Cr.S 10-162 JAM
                                                 )
     10               Plaintiff,                 )   STIPULATION AND ORDER
                                                 )   CONTINUING STATUS AND EXCLUDING
     11         Vs                               )   TIME
                                                 )
     12   FERNANDO MADRIGAL, et. al.,            )   ORDER
                                                 )
     13               Defendant                  )
                                                 )
     14                                          )
     15
                IT IS HEREBY STIPULATED by and between Assistant United
     16
          States Attorney Heiko coppola, Counsel for Plaintiff, and
     17
          undersigned counsel for all defendants, that the status
     18

     19
          conference scheduled for January 10, 2012 at 9:00 AM, be vacated

     20   and the matter be continued to this Court's criminal calendar on

     21   March 6, 2012, at 9:30 a.m. for further status.

     22         This continuance is requested by the defense in order to

     23   permit counsel time to prepare for the defense of this case and
     24   to continue negotiations with the prosecution in an effort to
     25
          reach resolution.



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      1         IT IS FURTHER STIPULATED that time for trial under the
      2   Speedy Trial Act, 18 U.S.C. § 3161, et. seq. be tolled pursuant
      3
          to § 3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare),
      4
          and that the ends of justice served in granting the continuance
      5
          and allowing the defendants further time to prepare outweigh the
      6
          best interests of the public and the defendant in a speedy
      7
          trial. The Court is advised that all counsel have conferred
      8
          about this request, that they have agreed to the March 6, 2012,
      9
          date, and that all counsel have authorized Mr. Bigelow to sign
     10
          this stipulation on their behalf.
     11

     12

     13   IT IS SO STIPULATED

     14
          /S/ HEIKO COPPOLA
     15   Heiko Coppola, Esq.,                                 Dated: January 6, 2012
          Assistant United States Attorney
     16   Attorney for Plaintiff
     17   /S/MICHAEL B. BIGELOW                                Dated: January 6, 2012
          Michael B. Bigelow
     18
          Attorney for Defendant
          Fernando Madrigal
     19

     20   /S/STEVE TEICH                                       Dated: January 6, 2012
          Steve Teich
     21   Attorney for Defendant
          Rafael Emilio Gaonzalez Jurabe
     22
          /S/JOHN VIRGA                                        Dated: January 6, 2012
     23   John Virga
          Attorney for Defendant
     24   CerArturo Zepeda
     25




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      1   /S/HAYES GABLE                                Dated: January 6, 2012
          Hayes Gable
      2   Attorney for Defendant
          Alfredo Gallardo-Sosa
      3

      4
          /S/RON PETERS                                 Dated: January 6, 2012
          Ron Peters
      5   Attorney for Defendant
          Mario Nunez Sr.
      6
          /S/DAVID FISCHER                              Dated: January 6, 2012
      7   Carl Larson
          Attorney for Defendant
      8   Justin Haynes

      9   /S/DANYY BRACE                                Dated: January 6, 2012
          Danny Brace
     10   Attorney for Defendant
          Hiribero Andrad-Torres
     11

     12
          /S/JAMES R. GREINER                           Dated: January 6, 20121
          James Greiner
     13   Attorney for Defendant
          Alehandro Cisneros Romero
     14
          /S/SCOTT CAMERON                              Dated: January 6, 2012
     15   Scott Cameron
          Attorney for Defendant
     16   Juan Lopez
     17   /S/DOUG BEEVERS                               Dated: January 6, 2012
          Doug Beevers
     18
          Attorney for Defendant
          Jairo Zapien
     19

     20   /S/ROBERT FORKNER                             Dated: January 6, 2012
          Robert Forkner
     21   Attorney for Defendant
          Ignacio Hernandez
     22

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      1                                          ORDER
      2
          IT IS ORDERED: that pursuant to stipulation the above referenced
      3

      4
          matter shall be continued until March 6, 2012 at 9:30 a.m., and

      5   time excluded for the reasons set forth above.

      6   DATED:     January 6, 2012

      7

      8   /s/ John A. Mendez_______________
          HON. JOHN A MENDEZ.
      9   UNITED SATES DISTRICT COURT JUDGE
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